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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

  BLUEPRINT CAPITAL ADVISORS,                  :
  LLC,                                         :
                                               : Civil Action No. 2:20-cv-07663 (JXN) (ESK)
                                    Plaintiff, :
                                               :
                       v.                      :
                                               :
  PHILIP MURPHY, in his official capacity :
  as Governor of the State of New Jersey,      :
  STATE OF NEW JERSEY DIVISION OF :                               ORDER
  INVESTMENT, BLACKROCK, INC.,                 :
  BLACKROCK ALTERNATIVE                        :
  ADVISORS, CLIFFWATER, LLC,                   :
  TIMOTHY WALSH, OWL ROCK                      :
  CAPITAL CORPORATION,                         :
  SAMANTHA ROSENSTOCK, JASON                   :
  MACDONALD, CHRISTOPHER                       :
  MCDONOUGH, COREY AMON, DINI                  :
  AJMANI, DERRICK GREENE,                      :
  GEORGE HELMY, and MATTHEW                    :
  PLATKIN, in their individual and             :
  professional capacities,
                                               :
                                 Defendants. :
                                               :
                                               :

 NEALS, District Judge:

        THIS MATTER comes before the Court on the following: Plaintiff Blueprint Capital

 Advisors, LLC’s (“Plaintiff” or “BCA”) Appeals of the Magistrate Judge decisions (ECF Nos.

 115, 117); Defendant Timothy Walsh’s Motion to Dismiss or to Compel Arbitration; (ECF No.

 123); Defendants BlackRock, Inc.’s and BlackRock Alternative Advisors’ Motion to Dismiss the

 Amended Complaint (“BlackRock Defendants”) (ECF No. 125); Defendant Cliffwater, LLC’s

 Motion to Dismiss the Amended Complaint (ECF No. 126); the Motion to Dismiss the Amended

 Complaint filed on behalf of Defendants Philip Murphy, State of New Jersey Division of
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 Investment (“DOI”), Jason MacDonald, Christopher McDonough, Corey Amon, Dini Ajmani,

 Derrick Greene, George Helmy, and Matthew Platkin (collectively, the “State Defendants”) (ECF

 No. 128); Defendant Owl Rock Capital Corporation’s Motion to Dismiss the Amended Complaint

 (ECF No. 129), and Defendant Samantha Rosenstock’s Motion to Dismiss the Amended

 Complaint (ECF No. 130). Plaintiff BCA filed its opposition to the various motions (ECF Nos.

 138, 139). Defendants in turn filed their respective replies, Rosenstock (ECF No. 142); Cliffwater

 (ECF No. 143); Owl Rock (ECF No. 144); State Defendants (ECF No. 145); BlackRock

 Defendants (ECF No. 146); and Walsh (ECF No. 147). The Court exercises jurisdiction over this

 matter pursuant to 28 U.S.C. §§ 1331 and 1343, and supplemental subject matter jurisdiction over

 Plaintiff’s related state claims pursuant to 28 U.S.C. § 1367(a). Venue is proper in this district

 pursuant to 28 U.S.C. § 1391(b). The Court has carefully considered the parties’ written and oral

 arguments. For the reasons stated in the accompanying Opinion,

         IT IS on this 23rd day of December 2022,

         ORDERED the breach of contract claim within Count Three against DOI, as an agency or

 instrumentality of the State of New Jersey, is DISMISSED WITH PREJUDICE (Opinion at 25);

 and it is further

         ORDERED that Counts Seven, Eight, Fourteen, Twenty, Twenty-One and Twenty-Two

 are DISMISSED WITH PREJUDICE only to the degree that they are brought against the

 remaining State Defendants seeking damages in their official capacities (id.); and it is further

         ORDERED that Counts Nine, Ten, Eleven, and Twelve are DISMISSED WITH

 PREJUDICE only to the degree that they are brought against the State Defendants in their official

 capacities (id. at 25-26); and it is further




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         ORDERED that Count One of Plaintiff’s Amended Complaint is DISMISSED WITH

 PREJUDICE insofar as it is asserted against the DOI (id. at 32); and it is further

         ORDERED that Count One is DISMISSED WITHOUT PREJUDICE as to Defendant

 Governor Murphy (id. at 34); and it is further

         ORDERED that Defendants’ motion to dismiss Counts One and Five are DENIED (id.).

 These Counts will proceed as to the State Defendants in their individual capacities; and it is further

         ORDERED that Defendants’ motion to dismiss Count Four is GRANTED and Count

 Four is DISMISSED WITH PREJUDICE as those claims merge with Count Five (id. at 34); and

 it is further

         ORDERED that Defendants’ motion to dismiss Count Six is DENIED (id. at 39); and it

 is further

         ORDERED that Defendants’ motion to dismiss based on qualified immunity is DENIED

 (id. at 40); and it is further

         ORDERED that Defendants’ motion to dismiss Plaintiff’s Takings Clause claim against

 the DOI, as an agency of the State of New Jersey, at Count Two of the Amended Complaint is

 GRANTED and Count Two is DISMISSED WITH PREJUDICE (id. at 43); and it is further

         ORDERED that Defendants’ motion to dismiss Counts Seven and Eight is DENIED (id.

 at 44); and it is further

         ORDERED that Defendants’ motion to dismiss Counts Nine, Ten, Eleven and Twelve is

 DENIED (id. at 56); and it is further

         ORDERED that Defendants’ motion to dismiss Count Thirteen is DENIED (id. at 60);

 and it is further




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         ORDERED that Defendants’ motion to dismiss Count Fourteen is DENIED (id. at 67);

 and it is further

         ORDERED that Defendants’ motion to dismiss Count Fifteen is DENIED (id. at 70); and

 it is further

         ORDERED that Defendants’ motion to dismiss Count Sixteen is DENIED (id. at 73); and

 it is further

         ORDERED that Defendant Cliffwater’s motion to dismiss Plaintiff’s breach of contract

 claim at Count Seventeen is DENIED (id. at 76); and it is further

         ORDERED that Defendant Walsh’s motion to dismiss Count Eighteen is GRANTED and

 Count Eighteen is DISMISSED WITHOUT PREJUDICE (id. at 81); and it is further

         ORDERED that Defendant Walsh’s motion to dismiss Count Nineteen is DENIED (id. at

 82); and it is further

         ORDERED that Defendant Walsh’s motion to dismiss on the basis of arbitrability is

 DENIED (id. at 87); and it is further

         ORDERED that Defendants’ motion to dismiss Count Twenty is DENIED (id. at 87); and

 it is further

         ORDERED that Defendants’ motion to dismiss Count Twenty-One is DENIED (id. at

 93); and it is further

         ORDERED that Defendants’ motion to dismiss Count Twenty-Two is DENIED (id. at

 95); and it is further

         ORDERED that Defendants’ motion to dismiss Counts Fourteen, Twenty and Twenty-

 Two are GRANTED, and Counts Fourteen, Twenty and Twenty-Two are DISMISSED WITH

 PREJUDICE as to Defendants McDonough and MacDonald (id. at 101); and it is further



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        ORDERED that Defendants’ motion to dismiss Counts Fourteen, Twenty and Twenty-

 Two is GRANTED, and Counts Fourteen, Twenty and Twenty-Two are DISMISSED WITH

 PREJUDICE as to Defendant Rosenstock (id. at 102). For ease of reference, Defendants’ motions

 to dismiss (ECF Nos. 123, 125, 126, 128, 129, and 130) are GRANTED in part and DENIED in

 part, and Plaintiff’s Appeals (ECF No. 115, 170) are DENIED AS MOOT based on the Court’s

 rulings on Defendants’ motions.



                                                   s/ Julien Xavier Neals______________
                                                   JULIEN XAVIER NEALS
                                                   United States District Judge




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